    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 1 of 16 PageID #:234




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS


PETE CZOSNYKA, et al.,                               )
                                                     )
                              Plaintiffs,            )
        v.                                           )      Case No: 21-cv-3240
                                                     )
JAMES GARDINER,                                      )
                                                     )
                              Defendant.             )

   CITY OF CHICAGO OFFICE OF INSPECTOR GENERAL’S MOTION TO
             QUASH SUBPOENA OF NON-PARTY RECORDS

        Non-party the City of Chicago Office of Inspector General (“OIG”), by and through

one of its attorneys, Celia Meza, Corporation Counsel for the City of Chicago, respectfully

moves this Court to enter an order under Rule 45 quashing the “Subpoena to Produce

Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action,”

issued to it by Plaintiffs.

                   PROCEDURAL AND FACTUAL BACKGROUND

        On June 17, 2021, Plaintiffs filed their Complaint against Defendant James

Gardiner and the City of Chicago. That Complaint “challenge[d] the constitutionality of

the manner in which 45th Ward Alderman James Gardiner regulates speech on the

Facebook Page he has created for his role as a government.” Complaint (Dkt. 1) ¶ 1. The

Complaint also alleged that the City, including OIG, “ha[d] not taken any steps to

reprimand Alderman Gardiner or to ensure he that he uses his official government

Facebook Page in a manner consistent with the First Amendment.” Id. ¶ 6. Plaintiffs’ suit

consisted, therefore, of two claims: a claim against Gardiner for “violat[ing] the First

Amendment” by his “content-based regulation of speech,” id.¶ 92, and a Monell claim
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 2 of 16 PageID #:235




against the City of Chicago (of which OIG is a subordinate part) for being “on notice of

Gardiner’s violations of Plaintiffs’ and others’ First Amendment rights, but fail[ing] to take

any action to stop or remedy those violations,” id. ¶ 94.

       On October 25, 2021, the Court dismissed the City of Chicago as a party from this

matter following a successful motion to dismiss under Rules 12(b)(1) and 12(b)(6). City

MTD Order (Dkt. 33) at 3-4. The Court concluded that “the City’s failure to discipline

Alderman Gardiner cannot be the moving force behind plaintiffs’ constitutional injuries”

and held that “[t]he City of Chicago is no longer a defendant to this lawsuit.” Id.

       On February 10, 2022, the Court denied Alderman Gardiner’s motion to dismiss

the Complaint, writing that Plaintiffs had plausibly alleged that “Alderman Gardiner

restricted their access to a public forum in violation of the First Amendment” and “engaged

in content-based regulation of speech on his Facebook Page.” Gardiner MTD Order (Dkt.

39) at 4-5. Thus, only Alderman Gardiner thus remains a defendant to this lawsuit.

       On May 25, 2022, Plaintiffs sent a subpoena to OIG via First Class U.S. Mail. See

Ex. 1. That subpoena, which OIG actually received on June 2, 2022, demanded that OIG

produce, by June 21, 2022:

               For the time period of May 7, 2019 to the present, all documents
       (including, but not limited to, complaints, audits, reviews, investigations,
       interviews, correspondence, reports, and findings) that reference or pertain
       to the following:
            45th Ward Alderman James Gardiner’s Facebook Page;
            45th Ward Alderman James Gardiner’s use of social media;
            Pete Czosnyka
            Peter Barash
            Dominick Maino
            Steven Held
            Adam Vavrick; or
            James Suh

       On June 14, 2022, Plaintiffs’ counsel agreed to extending the response date on the

                                              2
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 3 of 16 PageID #:236




subpoena to July 14, 2022, to focus the scope of the subpoena to documents responsive to

the complaint, including the discussion of search terms and technological capabilities, and

that a protective order may be necessary.

       On June 16, 2022, a telephonic meeting was held with Plaintiffs’ counsel, OIG’s

counsel, and members of OIG. Plaintiffs’ counsel stated that Plaintiffs would be amenable

to narrowing the subpoena to encompass only complaints made by the named Plaintiffs to

OIG about Gardiner. However, later that day, Plaintiffs’ counsel sent an email to OIG’s

counsel which proposed a far more expansive scope than had been discussed during the

meet and confer and which was functionally identical to the original subpoena:

               “all documents (including, but not limited to, complaints, audits,
               reviews, investigations, interviews, correspondence, reports, and
               findings) that reference or pertain to the following:

              45th Ward Alderman James Gardiner's Facebook Page;

              45th Ward Alderman James Gardiner and any of the named
               Plaintiffs in our case (Pete Czosnyka, Peter Barash, Dominick
               Maino, Steve Held, Adam Vavrick, or James Suh).

       On July 8, 2022, OIG sent Plaintiffs’ counsel an email thanking counsel for being

agreeable to narrowing the subpoena and stating that it would endeavor to respond to the

narrowed subpoena by the following week as OIG’s counsel would be on vacation from

July 15, 2022, to August 1, 2022.

       On July 14, 2022, OIG’s counsel attempted to call Plaintiffs’ counsel but got

voicemail and was unable to leave a voicemail as the message box was full. OIG’s counsel

followed with an email pointing out that the subpoena was broadened as it now has no

timeframe from which to work and includes any complaints about any subject that the

Plaintiffs made about Gardiner, as well as complaints from any source, including people



                                            3
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 4 of 16 PageID #:237




other than the Plaintiffs, about Gardiner’s use of social media. The email stated that OIG

was willing to turn over complaints Plaintiffs made to OIG regarding Gardiner’s use of

social media within a specified timeline so long as a protective order was in place.

Plaintiffs’ counsel replied that they would discuss internally and respond as soon as

possible.

          On July 15, 2022, OIG’s counsel called Plaintiffs’ counsel. During this call, it was

generally agreed that Plaintiffs accepted receiving just the complaints they had made to

OIG and that those disclosures would be protected by an agreed protective order. OIG

accordingly sent an email memorializing what it understood to be the agreement, which

stated.

                 After an agreed protective order is put in place, but no sooner than
                 August 5, 2022, OIG will produce complaints it received between
                 May 7, 2019, and May 25, 2022, from the named plaintiffs (Pete
                 Czosnyka, Peter Barash, Adam Vavrick, Dominick Maino, Steve
                 Held, and James Suh) about Alderman Gardiner’s use of social
                 media. We agree that a standard protective order used by Magistrate
                 Judge Finnegan and the U.S. District Court for the Northern District
                 of Illinois (Form LR 26.2 Model Confidentiality Order), filed with
                 and approved by the court is appropriate to our needs.

          However, instead of responding to that email and confirming the agreement,

Plaintiffs backtracked and responded that they were in fact not agreeing to limit the

subpoena to solely the complaints submitted by the named Plaintiffs and stated a need for

further discussion. The email did state that they would work with Alderman Gardiner’s

counsel to enter a protective order that would cover the use and disclosure of any

documents OIG produced in response to their subpoena. OIG’s counsel again called

Plaintiffs’ counsel. The discussion revealed that Plaintiffs believe they are entitled to the

documents that they sought in the original subpoena, were fine with the dates of May 7,



                                               4
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 5 of 16 PageID #:238




2019, to May 25, 2022, as the dates that the subpoena should cover, and that if OIG

disagrees, were fine with having the court decide.

                                      ARGUMENT

        OIG asks that this Court quash Plaintiffs’ subpoena in full. The subpoena presents

an undue burden on this non-party. In the alternative, if the Court orders the documents to

be presented to Plaintiffs, the OIG asks that the scope be limited and that documents be

produced subject to an appropriate protective order.

   I.      The Subpoena Should Be Quashed Because It Imposes an Undue Burden
           on OIG, a Non-Party

        OIG is not a party to the complaint in this matter and must therefore be protected

from the undue burden of having to produce documents in response to a subpoena seeking

a significant amount of irrelevant information that relates only to previously dismissed

claims and that would harm OIG in carrying out its core mission of investigating

misconduct in City government.

        As courts in this district have observed, “[w]hen making the determination of

whether” a non-party like OIG “will be subjected to undue burden, courts consider a

number of factors, including the person’s status as a non-party, the relevance of the

discovery sought, the subpoenaing party’s need for the discovery, and the breadth of the

request.” Uppal v. Rosalind Franklin Univ. of Med. & Sci., 124 F. Supp. 3d 811, 813 (N.D.

Ill. 2015) (Cole, M.J.) (quashing Rule 45 subpoena); accord Little v. J.B. Pritzker for

Governor, 2020 WL 1939358, at *2 (N.D. Ill. Apr. 22, 2020) (Cummings, M.J.) (similar;

quashing Rule 45 subpoena).

        Each of these factors weighs in favor of quashing this subpoena to OIG in full.

   a. OIG is Entitled to “Special Consideration” in Discovery as a Non-Party and a

                                             5
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 6 of 16 PageID #:239




       Previously Dismissed Party.

       Rule 45 of the Federal Rules of Civil Procedure states “on timely motion, the court

for the district where compliance is required must quash or modify a subpoena that . . .

subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A) (emphasis added). This

mandatory language is in recognition of the “special consideration” afforded to non-parties

in discovery. Rossman v. EN Eng’g, LLC, 467 F. Supp. 3d 586, 590 (N.D. Ill. 2020) (Cole,

M.J.) (refusing to enforce Rule 45 subpoena). Courts have described non-party status as a

“significant factor to be considered in determining whether the burden imposed by a

subpoena is undue” and reflected that “the court should be particularly sensitive when

weighing the probative value of the information sought against the burden of production

on the non-party.” Little, 2020 WL 1939358, at *2 (collecting cases). “Under the Federal

Rules of Civil Procedure, the unwanted burden thrust upon non-parties is a factor entitled

to special weight in evaluating the balance of competing needs. Relevance alone is not

outcome determinative.” Rossman, 467 F. Supp. 3d at 590 (citing Fed. R. Civ. P. 45(d)(1)

(citations omitted)).

       As a non-party, OIG is entitled to the “special consideration” envisioned by the

Rule’s framers and repeatedly recognized by courts in this district. Indeed, these factors

weigh evenly more heavily in OIG’s favor here because the City—of which OIG is a

subordinate part—was previously named as a party, but was dismissed following a

successful motion under Rules 12(b)(1) and 12(b)(6). As such, the City has already been

put through significant expense and burden in defending and achieving dismissal from this

lawsuit—a factor that should be given weight in the Court’s consideration of whether the

City should be required to bear additional expense and burden. Plaintiffs’ subpoena seeks



                                            6
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 7 of 16 PageID #:240




what amounts to party discovery from a non-party on dismissed claims. The “special

weight” given to the interests of non-party OIG should apply even more strongly in this

context.

   b. The Subpoena Seeks Documents That Are Irrelevant to the First Amendment
      Claim That Remains in This Lawsuit.

       The subpoena seeks documents that are irrelevant to the claims that remain in this

lawsuit. Many of the documents are relevant only to claims that have been dismissed by

the Court (if they were ever relevant at all). This request seems little more than a vehicle

to seek evidence to replead the City back into the case after it secured dismissal. Such

documents are not proper subjects for any discovery under the Federal Rules of Civil

Procedure, where discovery must be “confine[d] . . . to the claims and defenses asserted in

the pleadings” and “parties . . . have no entitlement to discovery to develop new claims or

defenses that are not identified in the pleadings.” Uppal, 124 F. Supp. 3d at 814; accord

Sroga v. Preckwinkle, 2016 WL 1043427, at *3 n.7 (N.D. Ill. Mar. 16, 2017) (Chang, J.)

(“Discovery is limited to the claims that remain at issue after the motion to dismiss stage.”).

This principle applies even more strongly in Rule 45 discovery where courts are to be

“particularly sensitive” when considering the “probative value of the information sought.”

Little, 2020 WL 1939358, at *2.

       As described above, what remains in this lawsuit is a narrow issue: whether

Alderman Gardiner’s “unilateral ban of constituents and the content-based regulation of

speech on his Facebook Page violate[s] the First Amendment.” Gardiner MTD Order (Dkt.

39) at 2-3. And as described above, this Court previously held that Plaintiffs’ complaints

that the City (including OIG) failed to investigate and discipline Gardiner have been

dismissed from this lawsuit. See City MTD Order (Dkt. 33) at 1-4.


                                              7
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 8 of 16 PageID #:241




        However, Plaintiffs’ subpoena, even as proposed to be “narrowed,” seeks a large

swath of documents that are, at best, relevant to only those dismissed claims. For instance,

Plaintiffs’ demand in their original subpoena for “all documents” related to Alderman

Gardiner’s “social media” goes far beyond what is relevant under the Complaint, which

contains no allegations related to any social media besides Facebook. See Complaint ¶ 1

(Dkt. 1) (“In this case . . . Plaintiffs . . . challenge the constitutionality of the manner in

which 45th Ward Alderman James Gardiner regulates speech on [his] Facebook Page.”)

(emphasis added).       “All documents” about Alderman Gardiner’s Facebook page,

meanwhile, would sweep up documents OIG may have about Alderman Gardiner’s

Facebook activities that are wholly unrelated to whether he banned constituents from that

page.1 It would also cover documents that are relevant only to whether OIG investigated

or recommended discipline against Alderman Gardiner for his Facebook activities—a

claim dismissed from this lawsuit.

        The subpoena’s demand for “all documents” pertaining to the named plaintiffs is

similarly relevant only to those dismissed claims: documents regarding OIG’s handling of

complaints about Gardiner (for Facebook blocking, as well as other things) are irrelevant

to whether Alderman Gardiner’s act of blocking the plaintiffs on Facebook violates the

First Amendment.

        Finally, Plaintiffs are explicitly seeking complaints from a non-party regarding

Alderman Gardiner’s social media use. Disclosure of confidential complaints to OIG

would be profoundly injurious to its core mission of rooting out governmental misconduct,


1
  Moreover, as argued in greater detail below, the fact that OIG may possess documents reflecting
that Gardiner blocked constituents from his Facebook would be duplicative of documents in
possession of the Plaintiffs, Alderman Gardiner, and more appropriate non-parties, such as
Facebook itself.
                                                8
    Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 9 of 16 PageID #:242




as described in more detail below. Despite the putative class action complaint they have

filed, Plaintiffs are not entitled to such discovery, especially from a non-party because it is

irrelevant. See In re Williams Sonoma, Inc., 947 F.3d 535, 539 (9th Cir. 2020) (granting

mandamus and vacating order compelling discovery on class member identities; “[T]he

Supreme Court has determined that seeking discovery of the name of a class member (here

an unknown person . . . ) is not relevant within the meaning of [Fed. R. Civ. P. 26].”). Even

if what Plaintiffs seek was relevant, this information should be sought from the named

parties after a specific demonstration of need. See Manual on Complex Litigation § 21.14

(4th ed. 2004) (“Discovery relevant to certification should generally be directed to the

named parties. Discovery of unnamed members of a proposed class requires a

demonstration                of               need.”),              available                at

https://www.uscourts.gov/sites/default/files/mcl4.pdf.

        Because the documents Plaintiffs seek in their subpoena are irrelevant or relevant

only to claims already dismissed by this Court, this factor weighs in favor of quashing

Plaintiffs’ subpoena in its entirety.

    c. Plaintiff’s Need for this Irrelevant Discovery from OIG is Minimal

        Plaintiffs have little need to seek this irrelevant discovery from OIG for another

foundational reason: it is within the possession or control of the parties. “A non-party

subpoena seeking information that is readily available from a party through discovery may

be quashed as duplicative or cumulative.” Rossman, 467 F. Supp. 3d at 590-91 (collecting

cases quashing subpoenas on this ground).          The application of this rule to the First

Amendment claim that remains before the Court is straight-forward: Plaintiffs already have

access to evidence of when they discovered they were blocked by Alderman Gardiner on



                                              9
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 10 of 16 PageID #:243




Facebook and the events that preceded it. Indeed, their 29-page Complaint contains

extensive details—including exact dates—about plaintiffs being blocked from Alderman

Gardiner’s Facebook account and specific Facebook comments (including the text of those

comments) that were deleted or hidden by Alderman Gardiner. See, e.g., Complaint ¶¶ 22-

29, 40-47, 53-58, 62-64, 69-73. Additionally, as the Complaint notes, Plaintiffs complained

“over 20 times” to OIG about the Alderman’s conduct and so, at least some of the

documents OIG has in its possession, are simply what the Plaintiffs have already sent to

OIG. See Complaint ¶¶ 36, 44, 48, 65, 74, 78.

       Alderman Gardiner, meanwhile, has access to evidence—both documentary and

testamentary—about when he blocked Plaintiffs on Facebook and what led to those

decisions. Plaintiffs must seek that evidence from him through ordinary party discovery.

       Finally, any technical or objective evidence regarding Alderman Gardiner’s

Facebook activities is more appropriately obtained from another third-party, such as

Facebook or the Alderman’s internet service provider. See Sourgoutsis v. U.S. Capitol

Police, 323 F.R.D. 100, 107 (D.D.C. 2017) (“[T]he court must limit the extent of discovery

that is . . . obtainable from another source that is more convenient, less burdensome, or less

expensive.”). Those other non-parties will also be in a position to provide that information

with a business records affidavit, which would allow for its use in any eventual summary

judgment or trial without a testifying custodian or other qualified witness—a significant

efficiency for both the parties and the Court. See Fed. R. Evid. 803(6)(D).

       In sum, because the discovery that Plaintiffs seek from OIG is obtainable through

the normal party discovery process or from other non-parties much better situated to

respond, this undue burden factor weighs in favor of quashing the subpoena in its entirety.



                                             10
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 11 of 16 PageID #:244




   d. The Subpoena’s Demand for “all documents” with an Expansive Date Scope
      is Overbroad and Not Proportional to the Needs of This Litigation.

       Yet another factor weighing in OIG’s favor is the overbreadth of the subpoena. “It

is fundamental that discovery requests that ‘encompass an unlimited range of information’

as plaintiffs’ subpoena does in this case are overly broad” and courts regularly quash such

subpoenas demanding “all documents” on topics.         Little, 2020 WL 1939358, at *6

(collecting cases). The subpoena in this case, even as “narrowed” by Plaintiffs’ June 16

email, does exactly what is prohibited.

       The original subpoena sought “all documents” relating to Alderman Gardiner’s use

of social media and Facebook and “all documents” relating to the named Plaintiffs from

May 7, 2019.     Plaintiffs’ proposal to narrow the subpoena continued to seek “all

documents” on a broad range of topics relating to Alderman Gardiner’s use of social media

and the plaintiffs, but removed the date limitation. Either request is sweepingly overbroad

and lacks “proportion[] to the needs of a case” about a limited First Amendment issue.

Fed. R. Civ. P. 26(b)(1). As described above in OIG’s argument concerning relevance,

this broad language sweeps up large amounts of data regarding topics with no connection

to the live claims in the Complaint.

       At bottom, the overbreadth of this subpoena is another factor weighing for a finding

that this subpoena subjects OIG to an undue burden and must therefore be quashed.

   e. This Subpoena Seeks Documents That Would Burden OIG’s Core Mission to
      Detect and Prevent Government Misconduct and Chill the Submission of
      Complaints About Misconduct to OIG.

       The core of OIG’s mission is investigating governmental misconduct and holding

responsible those who commit it. See MCC § 2-56-030(b) (describing the Inspector

General’s power and duty to “investigate the performance of governmental officers [and]

                                            11
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 12 of 16 PageID #:245




employees . . . in order to detect and prevent misconduct”). Critical to that mission are the

provisions of OIG’s enabling ordinance which require not only its final investigative

reports, but also its “investigatory files and reports,” remain confidential with a few limited

exceptions that do not apply to Plaintiffs in this action. See MCC §§ 2-56-060, -070, -110.

The confidentiality provisions in OIG’s enabling ordinance permit those impacted by

government misconduct—even and especially those who fear retaliation and reprisals for

making complaints about those who occupy positions of power—to safely provide the

information OIG needs to meet its mandate. Additionally, the confidentiality ordinance is

important to foster true working partnerships between people and entities, such as federal,

state, and local law enforcement, who may be able to assist the OIG in its mission.

Individual informants and law enforcement agencies will be more likely to work with the

OIG – and improve the effectiveness of the OIG – if they can be guaranteed confidentiality.

        OIG’s ability to protect the confidentiality of complainants and witnesses who do

come forward to report or describe misconduct is thus a significant tool in OIG’s toolbox,

especially as Government employees are often reticent to report misconduct by their fellow

employees for fear of retaliation. If the OIG could no longer offer this protection, and if

not only its investigatory techniques but also the very names of the individuals who seek

its help were revealed, there would be significant harm to its ability to carry out its mission.

To paraphrase the Supreme Court in a related context: making a promise of confidentiality

that is contingent on a judge’s later balance of the confidentiality interest versus the

evidentiary need for disclosure would eviscerate the confidentiality promise. See Jaffee v.

Redmond, 518 U.S. 1, 18 (1996).

        The Seventh Circuit has recognized the significant burden that confidentiality



                                              12
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 13 of 16 PageID #:246




breaches as a result of Rule 45 subpoenas can place on non-parties. In Northwestern

Memorial Hospital. v. Ashcroft, the court quashed a subpoena after balancing the burden

of compliance with the benefit of production of the material sought. 362 F.3d 923, 927-29

(7th Cir. 2004). The Seventh Circuit held that a subpoena asking for the medical records

of Northwestern Memorial Hospital’s abortion patients imposed an undue burden on the

hospital and should be quashed. Id. at 927. The records provided limited probative value,

and when weighed against patients’ fear of identification, which would harm the hospital,

was insufficient to sustain the subpoena. Id. “If Northwestern Memorial Hospital cannot

shield the medical records of its abortion patients from disclosure in judicial proceedings,

moreover, the hospital will lose the confidence of its patients, and persons with sensitive

medical conditions may be inclined to turn elsewhere for medical treatment.” Id. at 929.

       The concerns here are very similar. If the court requires that the names of

complainants and investigative files be turned over, people may lose confidence in OIG; if

people do not complain to the OIG about actions of the government because they are afraid

they may be outed for doing so, then the OIG’s role in protecting the public is lessened. If

all that were required to find out the names of complainants was to file a civil suit, it could

open the floodgates to the public outing of those who seek OIG’s help and protection in

furtherance of its mission.

   f. This Subpoena Would Result in a Burdensome Review for the Application of
      at Least Three Different Privileges.

       In the event OIG agreed to or was ordered to produce any documents in response

to this subpoena, OIG would then need to review each responsive document for at least

three privileges potentially applicable its work: deliberative process, investigatory, and

attorney-client privilege. This Court must consider whether OIG should be required to

                                              13
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 14 of 16 PageID #:247




undertake these reviews for documents that have no probative value to the live claims in

this case and are more properly sought from parties or non-parties who will not have the

same privilege claims. See Rossman, 467 F. Supp. 3d at 590 (Rule 45 subpoenas must

“avoid imposing undue burden or expense”).

       OIG’s investigative work typically implicates at least three separate privileges. The

federal common law deliberative process privilege protects communications that are part

of a government agency's decision-making process in order to encourage the frank

discussion of legal and policy matters within an agency. Rodriguez v. City of Chi., 329

F.R.D. 182, 186 (N.D. Ill. 2019). The communications should be both pre-decisional and

deliberative.   Id.   The privilege extends to individualized decision-making, such as

summary reports and discussions that are part of the process of formulating

recommendations to sustain discipline with respect to in OIG’s internal investigations. Id.

       Other OIG documents sought may be shielded by the investigatory privilege. OIG

conducts investigations into both administrative violations, where the ultimate sanction is

typically termination from city employment, as well as criminal violations. See MCC §§

2-56-030(b) (administrative investigations), -030(j) (criminal investigations).         The

investigatory privilege protects both types of investigatory files from civil discovery.

Rodriguez, 329 F.R.D. at 189. The purpose of the privilege is to protect sources, witnesses,

and investigators and to prevent interference with on-going investigations. Id.

       Finally, since a great deal of OIG’s work is informed by legal requirements and

interpretations of relevant laws, a number of OIG documents sought by Plaintiffs may be

covered by attorney-client privilege or attorney work product concerns.

       To date, OIG has not undertaken the careful document-by-document privilege



                                            14
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 15 of 16 PageID #:248




review to assess whether and how many privileges apply to each document the Plaintiffs

seek. See RBS Citizens, N.A. v. Husain, 291 F.R.D. 209, 218 (N.D. Ill. 2013) (describing

the requirements of a privilege review). However, because of the potentially applicability

of these three privileges to the documents implicated by the subpoena, OIG would need to

conduct such a burdensome review prior to producing any documents. This is another

factor that should weigh in OIG’s favor in quashing the subpoena in its entirety.

                                     CONCLUSION

       In summary, the subpoena should be quashed in its entirety because the City, a non-

party, should not suffer the undue burden of answering a subpoena that seeks documents

that are irrelevant to the narrow First Amendment claim in this lawsuit, that can best be

obtained from the parties or more appropriate non-parties, and puts the OIG’s core mission

of holding City government accountable at risk by revealing the names of confidential

informants, as well as OIG’s investigative methods and progress. In the alternative, should

the court require that the documents sought be turned over, they should be turned over

subject to a protective order and OIG’s ability to remove any personal identifying

information of any informants or complainants.

                                             Respectfully submitted,

                                             CELIA MEZA
                                             Corporation Counsel for the City of Chicago

Dated: July 15, 2022                         By:     /s/ Rey A. Phillips Santos
                                                     Rey A. Phillips Santos
                                                     Assistant Corporation Counsel

Rey A. Phillips Santos (he / él)
Assistant Corporation Counsel Senior
City of Chicago Department of Law
121 N. LaSalle St., Suite 600
Chicago, IL 60602

                                            15
   Case: 1:21-cv-03240 Document #: 54 Filed: 07/21/22 Page 16 of 16 PageID #:249




312-744-7636
rey.phillips_santos@cityofchicago.org




                                        16
